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                               UNITED STATES DISTRICT COURT
                                          FOR THE
                                  DISTRICT OF NEW JERSEY
                                           :
JOSE LEBRON
                                          :      Civil Action No. 15-3977
               Plaintiff (s)
                                          :
               v.
                                          :      ORDER OF DISMISSAL
VERDE ENERGY
                                          :
               Defendant (s)
                                          :


       It having been reported to the Court that the above-captioned action has been
settled;

       IT IS on this 18TH day of NOVEMBER, 2015

       ORDERED THAT:

               (1) This action is hereby DISMISSED without costs and without prejudice

to the right, upon motion and good cause shown, within 60 days, to reopen this action if

the settlement is not consummated; and

               (2) If any party shall move to set aside this Order of Dismissal as

provided in the above paragraph or pursuant to the provisions of Fed. R. Civ. P. 60(b),

in deciding such motion the Court retains jurisdiction of the matter to the extent

necessary to enforce the terms and conditions of any settlement entered into between

the parties.

                                                 s/ Joseph H. Rodriguez
                                                 UNITED STATES DISTRICT JUDGE


Hon. Joseph H. Rodriguez
Hon. Karen M. Williams
